Case 1:10-cr-20262-TLL-CEB ECF No. 40, PageID.171 Filed 04/07/11 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number 10-20262-01-BC
v.                                                            Honorable Thomas L. Ludington

BOBBY JASON JOHNSON,

               Defendant.

__________________________________________/


    ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
DEFENDANT’S PLEA OF GUILTY AS TO COUNT ONE OF THE INDICTMENT, AND
      TAKING THE RULE 11 PLEA AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on March 16, 2011 by United States Magistrate Judge Charles

E. Binder pursuant to the Defendant’s consent. Judge Binder issued his report on March 16, 2011,

recommending acceptance of Defendant’s guilty plea. Either party may serve and file written

objections “[w]ithin fourteen days after being served with a copy” of the report and

recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo determination

of those portions of the report . . . to which objection is made.” Id. Where, as here, neither party

objects to the report, the district court is not obligated to independently review the record. Thomas

v. Arn, 474 U.S. 140, 149–52 (1985).

       Accordingly, it is ORDERED that Judge Binder’s report and recommendation [Dkt # 36]

is ADOPTED.
Case 1:10-cr-20262-TLL-CEB ECF No. 40, PageID.172 Filed 04/07/11 Page 2 of 2




       It is further ORDERED that the defendant’s guilty plea as to count one of the indictment

is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 35] is taken UNDER ADVISEMENT.

                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge

Dated: April 7, 2011

                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on April 7, 2011.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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